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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                        San Francisco Division

                                  11     BRYON U. JACKSON,                                Case No. 21-cv-08458-LB
                                  12                   Plaintiff,
Northern District of California




                                                                                          VERDICT
 United States District Court




                                  13             v.

                                  14     TARGET CORPORATION,
                                  15                   Defendant.

                                  16

                                  17   Claim of Negligence
                                  18   1. Was Target negligent?
                                  19          Yes: _____                   No: _____
                                  20      If your answer to question 3 is yes, then answer question 2. If you answered no, you have
                                          reached a verdict in favor of the defendant, and you must stop here, answer no further
                                  21      questions, and have the presiding juror sign and date this form.
                                  22
                                       2. Was Byron Jackson negligent?
                                  23
                                              Yes: _____                   No: _____
                                  24
                                          If your answer to question 2 is yes, then answer question 3. If you answered no, then proceed
                                  25      to question 4.
                                  26

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                                       VERDICT – No. 21-cv-08458-LB
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                                       3. What percentage of responsibility do you assign to Target and Byron Jackson? (The combined
                                   1      total must equal 100%.)
                                   2          Target                  _____%

                                   3          Byron Jackson           _____%

                                   4          TOTAL                   100%

                                   5      Proceed to question 4.
                                   6
                                       Damages
                                   7

                                   8   4. What are Byron Jackson’s damages?
                                   9          $________________

                                  10

                                  11   Signed:___________________________________ (Presiding Juror)

                                  12   Dated:____________________________________
Northern District of California
 United States District Court




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                                       VERDICT – No. 21-cv-08458-LB                  2
